     Case 2:00-cr-01220-SVW Document 422 Filed 11/05/14 Page 1 of 6 Page ID #:750



1    STEPHANIE YONEKURA
     Acting United States Attorney
2    ROBERT E. DUGDALE
     Assistant United States Attorney
3    Chief, Criminal Division
     LINDSEY GREER DOTSON (Cal. Bar No. 266973)
4    Assistant United States Attorney
     General Crimes Section
5         1100 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-4443
7         Facsimile: (213) 894-0141
          E-mail:    lindsey.dotson@usdoj.gov
8
     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 00-1220-SVW-2

13              Plaintiff,                    GOVERNMENT’S RESPONSE TO THE
                                              COURT’S INQUIRY REGARDING TRAVEL
14                    v.                      MODIFICATION TO TERMS OF
                                              SUPERVISED RELEASE
15   OZINE BRIDGEFORTH,
16              Defendant.

17

18        Plaintiff United States of America, by and through its counsel
19   of record, the United States Attorney for the Central District of
20   California and Assistant United States Attorney Lindsey Greer Dotson,
21   hereby files its Response to the Court’s Inquiry Regarding Travel
22   Modification to Terms of Supervised Release.
23        On November 3, 2014, the Court held a hearing regarding
24   Defendant Ozine Bridgeforth’s Motion to Terminate Supervised Release
25   (dkt no. 408).    At the hearing, the Court requested that the
26   Government file a brief response regarding whether a travel
27   modification to Defendant’s terms of supervised release would be
28
     Case 2:00-cr-01220-SVW Document 422 Filed 11/05/14 Page 2 of 6 Page ID #:751



1    possible, wherein Defendant could travel intrastate 1 for employment

2    without advance notice to Defendant’s probation officer (“USPO”), if

3    advance notice were not possible.         At present, Defendant is not

4    permitted to travel outside of the Central District of California

5    without advance notice and the permission of the USPO.

6         Based on the attached declaration of Defendant’s USPO, Michelle

7    Armstrong, advance notice is required, per United States Probation

8    Office policy, before the USPO can authorize travel.           However, to

9    accommodate Defendant’s travel needs for employment, the USPO here

10   would be amenable to requiring only 24 hours’ advance notice when

11   intrastate travel is required by Defendant’s employer.

12   Dated: November 5, 2014              Respectfully submitted,

13                                        STEPHANIE YONEKURA
                                          Acting United States Attorney
14
                                          ROBERT E. DUGDALE
15                                        Assistant United States Attorney
                                          Chief, Criminal Division
16

17                                              /s/
                                          LINDSEY GREER DOTSON
18                                        Assistant United States Attorney

19                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
20

21

22

23

24

25

26
          1
27          The Court’s inquiry related only to intrastate travel within
     California. The Court did not address, nor request a response
28   regarding, interstate travel outside of California.

                                           2
Case 2:00-cr-01220-SVW Document 422 Filed 11/05/14 Page 3 of 6 Page ID #:752
Case 2:00-cr-01220-SVW Document 422 Filed 11/05/14 Page 4 of 6 Page ID #:753
Case 2:00-cr-01220-SVW Document 422 Filed 11/05/14 Page 5 of 6 Page ID #:754




                      EXHIBIT A
Case 2:00-cr-01220-SVW Document 422 Filed 11/05/14 Page 6 of 6 Page ID #:755
